                    Case 8-18-74545-ast                         Doc 1       Filed 07/05/18            Entered 07/05/18 20:35:02


Fill in this information to identify the case:

United States Bankruptcy Court for the:
Eastern District of New York
                                      (State)

Case number (If known): _________________________ Chapter 11                                                                             Check if this is an
                                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                               04/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                              New York Network Management, L.L.C.


                                                d/b/a NYNM
2.   All other names debtor used
     in the last 8 years
     Include any assumed names, trade
     names, and doing business as names



3.   Debtor’s federal Employer
                                                 XX-XXXXXXX
     Identification Number (EIN)


4.   Debtor’s address                           Principal place of business                                 Mailing address, if different from principal place
                                                                                                            of business


                                                1st Floor 9201 4th Ave.                                     1715 Route 35 North, Suite 303
                                                Number       Street                                         Number       Street




                                                                                                            P.O. Box



                                                Brooklyn                           NY             11209      Middletown                   NJ              07748
                                                City                             State         Zip Code     City                          State          Zip Code

                                                                                                            Location of principal assets, if different from
                                                                                                            principal place of business

                                                Kings
                                                County
                                                                                                            Number       Street




                                                                                                            City                          State          Zip Code




5.   Debtor’s website (URL)                     www.nynmonline.com


6.   Type of debtor                                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                       Partnership (excluding LLP)
                                                       Other. Specify:




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Debtor          New York Network Management, L.L.C.                                                Case number (if known)
                Name




                                                 A. Check one:
7.    Describe debtor’s business
                                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                     Railroad (as defined in 11 U.S.C. § 101(44))
                                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                     Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                     None of the above


                                                 B. Check all that apply:
                                                     Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                     Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                     Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                 C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                    http://www.uscourts.gov/four-digit-national-association-naics-codes.

                                                    5511


8.    Under which chapter of the                 Check one:
      Bankruptcy Code is the
      debtor filing?                                 Chapter 7
                                                     Chapter 9
                                                     Chapter 11. Check all that apply:
                                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                                        affiliates) are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every
                                                                        3 years after that).
                                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor
                                                                        is a small business debtor, attach the most recent balance sheet, statement of
                                                                        operations, cash-flow statement, and federal income tax return or if all of these
                                                                        documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                        A plan is being filed with this petition.
                                                                        Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                        in accordance with 11 U.S.C. § 1126(b).
                                                                        The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                        Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                        Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                        Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                        The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                        12b-2.
                                                     Chapter 12


9.    Were prior bankruptcy cases                    No
      filed by or against the debtor                 Yes.    District                         When                             Case number
      within the last 8 years?                                                                        MM / DD / YYYY
      If more than 2 cases, attach a separate                District                         When                             Case number
      list.
                                                                                                      MM / DD / YYYY


10.   Are any bankruptcy cases                       No
      pending or being filed by a                    Yes.    Debtor See Rider 1                                             Relationship
      business partner or an
      affiliate of the debtor?                               District                                                       When
                                                                                                                                           MM / DD / YYYY
      List all cases. If more than 1, attach a
      separate list.                                         Case number, if known




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Debtor       New York Network Management, L.L.C.                                        Case number (if known)
             Name




11.   Why is the case filed in this   Check all that apply:
      district?                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.
                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have         No     [See Rider 2]
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal
      property that needs                         Why does the property need immediate attention? (Check all that apply.)
      immediate attention?                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?
                                                      It needs to be physically secured or protected from the weather.
                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).
                                                      Other


                                                  Where is the property?
                                                                              Number         Street




                                                                              City                                  State              ZIP Code


                                                  Is the property insured?
                                                      No
                                                      Yes. Insurance agency

                                                              Contact name

                                                              Phone


          Statistical and administrative information


13.   Debtor’s estimation of          Check one:
      available funds                     Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.


14.   Estimated number of                 1-49                                       1,000-5,000                          25,001-50,000
      creditors                           50-99                                      5,001-10,000                         50,001-100,000
      (on a consolidated basis)           100-199                                    10,001-25,000                        More than 100,000
                                          200-999


15.   Estimated assets                    $0-$50,000                                 $1,000,001-$10 million               $500,000,001-$1 billion
      (on a consolidated basis)           $50,001-$100,000                           $10,000,001-$50 million              $1,000,000,001-$10 billion
                                          $100,001-$500,000                          $50,000,001-$100 million             $10,000,000,001-$50 billion
                                          $500,001-$1 million                        $100,000,001-$500 million            More than $50 billion




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 3
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 Debtor       New York Network Management, L.L.C.                                           Case number (if known)
              Name




16.   Estimated liabilities                     $0-$50,000                            $1,000,001-$10 million                     $500,000,001-$1 billion
      (on a consolidated basis)                 $50,001-$100,000                      $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                                $100,001-$500,000                     $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                                $500,001-$1 million                   $100,000,001-$500 million                  More than $50 billion



                     Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of              ■     The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
      authorized representative of              this petition.
      debtor
                                                ■     I have been authorized to file this petition on behalf of the debtor.

                                                ■    I have examined the information in this petition and have a reasonable belief that the information is
                                                true and correct.

                                         I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on 07/05/2018
                                                        MM / DD / YYYY


                                          /s/ Timothy J. Dragelin                                    Timothy J. Dragelin
                                               Signature of authorized representative of debtor       Printed name

                                         Title: Chief Restructuring Officer




18.   Signature of attorney                     /s/ Thomas R. Califano                               Date     07/05/2018
                                                Signature of attorney for debtor                               MM / DD / YYYY




                                         Thomas R. Califano
                                         Printed name

                                         DLA Piper LLP (US)
                                         Firm name

                                         1251 Avenue of the Americas
                                         Number Street

                                         New York                                                                           NY                 10020-1104
                                         City                                                                               State              ZIP Code

                                         (212) 335-4500                                                                     thomas.califano@dlapiper.com
                                         Contact phone                                                                      Email address

                                         2286144                                                                            NY
                                         Bar number                                                                         State




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          :
                                                                : Chapter 11
NEW YORK NETWORK MANAGEMENT, L.L.C., :
                                                                : Case No. 18-_____ (___)
                    Debtor.                                     :
--------------------------------------------------------------- x

                                                     Rider 1

                    Pending Bankruptcy Cases Filed by the Debtor and Its Affiliates

        On March 16, 2018, each of the entities listed below (collectively, the “Debtors”) filed a
voluntary petition in the United States Bankruptcy Court for the Eastern District of New York for relief
under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). The Debtors and New
York Network Management, L.L.C. are affiliates within the meaning of section 101(2) of the Bankruptcy
Code and have moved for joint administration of their cases under the In re Orion Healthcorp, Inc., et al.,
Case No. 18-71748 (AST).

    1.    Orion HealthCorp, Inc.
    2.    Constellation Healthcare Technologies, Inc.
    3.    NEMS Acquisition, LLC
    4.    Northeast Medical Solutions, LLC
    5.    NEMS West Virginia, LLC
    6.    Physicians Practice Plus, LLC
    7.    Physicians Practice Plus Holdings, LLC
    8.    Medical Billing Services, Inc.
    9.    Rand Medical Billing, Inc.
    10.   RMI Physician Services Corporation
    11.   Western Skies Practice Management, Inc.
    12.   Integrated Physician Solutions, Inc.
    13.   NYNM Acquisition, LLC
    14.   Northstar FHA, LLC
    15.   Northstar First Health, LLC
    16.   Vachette Business Services, Ltd.
    17.   MDRX Medical Billing, LLC
    18.   VEGA Medical Professionals, LLC
    19.   Allegiance Consulting Associates, LLC
    20.   Allegiance Billing & Consulting, LLC
    21.   Phoenix Health, LLC




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          :
                                                                : Chapter 11
NEW YORK NETWORK MANAGEMENT, L.L.C., :
                                                                : Case No. 18-_____ (___)
                    Debtor.                                     :
--------------------------------------------------------------- x

                                                    Rider 2

                   Real Property or Personal Property that Needs Immediate Attention
        Question 12, among other things, asks the debtor to identify any property that poses or is alleged
to pose a threat of imminent and identifiable hazard to public health or safety.
        The above-captioned debtor (the “Debtor”) does not believe it owns or possesses any real or
personal property that (i) poses a threat of imminent and identifiable hazard to public health or safety, (ii)
needs to be physically secured or protected from the weather, or (iii) includes perishable goods or assets
that could quickly deteriorate. The Debtor notes that it is not aware of the exact definition of “imminent
and identifiable hazard” as used in this form.




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                                       UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF NEW YORK
                                               www.nyeb.uscourts.gov

                                          STATEMENT PURSUANT TO LOCAL
                                            BANKRUPTCY RULE 1073-2(b)



DEBTOR(S): New York Network Management, L.L.C.                                               CASE NO.: 18-            (AST)

        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same;
(ii) are spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership;
(v) are a partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners;
or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is
included in the property of another estate under 11 U.S.C. § 541(a).]


   NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

   THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:
                                                                                                       Eastern District of New
1. CASE NO.: 18-71748 (AST)             JUDGE: Alan S. Trust                        DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes                   [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.


                                                                                                      Eastern District of New
2. CASE NO.: 18-71749 (AST)             JUDGE: Alan S. Trust                       DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes                  [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.




                                                                [OVER]

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DISCLOSURE OF RELATED CASES (cont’d)

                                                                                           Eastern District of New
3. CASE NO.: 18-71750 (AST)     JUDGE: Alan S. Trust                    DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes             [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.


                                                                                           Eastern District of New
4. CASE NO.: 18-71751 (AST)     JUDGE: Alan S. Trust                    DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes             [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.


                                                                                           Eastern District of New
5. CASE NO.: 18-71752 (AST)     JUDGE: Alan S. Trust                    DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes             [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.


                                                                                           Eastern District of New
6. CASE NO.: 18-71753 (AST)     JUDGE: Alan S. Trust                    DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes             [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.



                                                    [OVER]
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                                                                                           Eastern District of New
7. CASE NO.: 18-71754 (AST)     JUDGE: Alan S. Trust                    DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes             [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.


                                                                                           Eastern District of New
8. CASE NO.: 18-71755 (AST)     JUDGE: Alan S. Trust                    DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes             [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.


                                                                                           Eastern District of New
9. CASE NO.: 18-71756 (AST)     JUDGE: Alan S. Trust                    DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes             [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.


                                                                                           Eastern District of New
10. CASE NO.: 18-71757 (AST)    JUDGE: Alan S. Trust                    DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes             [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.




                                                    [OVER]

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                                                                                           Eastern District of New
11. CASE NO.: 18-71758 (AST)    JUDGE: Alan S. Trust                    DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes             [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.


                                                                                           Eastern District of New
12. CASE NO.: 18-71759 (AST)    JUDGE: Alan S. Trust                    DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes             [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.


                                                                                           Eastern District of New
13. CASE NO.: 18-71760 (AST)    JUDGE: Alan S. Trust                    DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes             [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.


                                                                                           Eastern District of New
14. CASE NO.: 18-71761 (AST)    JUDGE: Alan S. Trust                    DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes             [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.




                                                    [OVER]

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                                                                                           Eastern District of New
15. CASE NO.: 18-71762 (AST)    JUDGE: Alan S. Trust                    DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes             [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.


                                                                                           Eastern District of New
16. CASE NO.: 18-71763 (AST)    JUDGE: Alan S. Trust                    DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes             [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.


                                                                                           Eastern District of New
17. CASE NO.: 18-71764 (AST)    JUDGE: Alan S. Trust                    DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes             [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.


                                                                                           Eastern District of New
18. CASE NO.: 18-71765 (AST)    JUDGE: Alan S. Trust                    DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes             [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.




                                                    [OVER]

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                                                                                                     Eastern District of New
19. CASE NO.: 18-71766 (AST)           JUDGE: Alan S. Trust                       DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes                      [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.


                                                                                                     Eastern District of New
20. CASE NO.: 18-71767 (AST)           JUDGE: Alan S. Trust                       DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes                      [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.


                                                                                                     Eastern District of New
21. CASE NO.: 18-71789 (AST)           JUDGE: Alan S. Trust                       DISTRICT/DIVISION: York / Central Islip

CASE STILL PENDING: (YES/NO): Yes                      [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE: Pending
                                (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: None.




NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days
may not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):          Y

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any
time, except as indicated elsewhere on this form.


/s/ Thomas R. Califano
Signature of Debtor’s Attorney                                            Signature of Pro-se Debtor/Petitioner


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                                                                      DLA Piper LLP (US)
                                                                      1251 Avenue of the Americas
                                                                      Mailing Address of Debtor/Petitioner

                                                                      New York, New York 10020
                                                                      City, State, Zip Code

                                                                      thomas.califano@dlapiper.com
                                                                      Email Address

                                                                      212-335-4500
                                                                      Area Code and Telephone Number


Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor
or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of
a trustee or the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may
otherwise result.




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          :
                                                                : Chapter 11
NEW YORK NETWORK MANAGEMENT, L.L.C., :
                                                                : Case No. 18-_____ (___)
                    Debtor.                                     :
--------------------------------------------------------------- x


                         LIST OF CREDITORS WHO HAVE THE
           TWENTY (20) LARGEST UNSECURED CLAIMS AND ARE NOT INSIDERS

         The above-captioned debtor (collectively, the “Debtor”) hereby certifies that the List of Creditors
Who Have the Twenty (20) Largest Unsecured Claims and Are Not Insiders submitted herewith contains
the names and addresses of the Debtor’s top twenty (20) unsecured creditors (the “Top 20 List”). The list
has been prepared from the Debtor’s unaudited books and records as of the date hereof. The Top 20 List
was prepared in accordance with Rule 1007(d) of the Federal Rules of Bankruptcy Procedure for filing in
the Debtor’s chapter 11 case. The Top 20 List does not include: (1) persons who come within the
definition of an “insider” set forth in 11 U.S.C. § 101(31); or (2) secured creditors, unless the value of the
collateral is such that the unsecured deficiency places the creditor among the holders of the twenty
(20)largest unsecured claims. The information presented in the Top 20 List shall not constitute an
admission by, nor is it binding on, the Debtor. Moreover, nothing herein shall affect the Debtor’s right to
challenge the amount or characterization of any claim at a later date. The failure of the Debtor to list a
claim as contingent, unliquidated or disputed does not constitute a waiver of the Debtor’s right to contest
the validity, priority, and/or amount of any such claim. The Debtor has twenty-eight (28) affiliated
companies, twenty-one (21) of which have chapter 11 cases pending before this Court. There are over
4,000 creditors and parties in interest in the cases of the Debtor and its affiliates, and there may be
potential for confusion and/or overlap regarding creditor obligations. Given the circumstances, the
Debtor reserves all rights with respect to the Top 20 List.




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    Fill in this information to identify the case:

    Fill in this information to identify the case:

    Debtor Name New York Network Management, L.L.C.

    United States Bankruptcy Court for the: Eastern District of New York
                                                         (State)                                                         Check if this is
                                                                                                                         an amended
    Case number (If known):
                                                                                                                         filing




Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders                                                                                                                    12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.


                                                                                                                             Amount of unsecured claim
                                                                                    Nature of the
                                                                                                                      If the claim is fully unsecured, fill in only
                                                                                       claim (for
                                                                                                                     unsecured claim amount. If claim is partially
                                                                                    example, trade     Indicate if
                                                                                                                        secured, fill in total claim amount and
  Name of creditor and                                                                debts, bank       claim is
                                 Name, telephone number, and email address of                                        deduction for value of collateral or setoff to
complete mailing address,                                                                loans,       contingent,
                                               creditor contact                                                                calculate unsecured claim.
   including zip code                                                                professional    unliquidated,
                                                                                     services, and    or disputed       Total       Deduction
                                                                                      government                       claim, if   for value of      Unsecured
                                                                                       contracts)                      partially   collateral or       claim
                                                                                                                       secured         setoff

                              8 Bond Street, Suite 303
       Agulnick & Gogel,                                                            Professional                                                   $24,451.06
1                             Great Neck, New York 11021
       LLC                                                                          Services
                              Attn: William A. Gogel



                              50 Route 111
       Devitt Spellman                                                              Litigation                                                     $7,702.50
2                             Smithtown, New York 11787
       Barrett, LLP                                                                 Claim
                              Attn: Theodore D. Sklar



                              111 Great Neck Road
                                                                                    Professional                                                   $7,293.42
3      Garfunkel Wild, PC     Great Neck, NY 11021
                                                                                    Services
                              Phone: (516) 393-7702



                              PO Box 660317                                                                                                        $5,557.35
4      Travelers                                                                    Trade Debt
                              Dallas, TX 75266-0317



                              1887 Main Street Suite 204
       Provider Assistants    Washougal, WA 98671                                                                                                  $3,750.00
5                                                                                   Trade Debt
       LLC                    Phone: (360) 954-5752
                              E-mail: Sonja@providerservicegroup.com


                              44 Ackley Court
6      Early, Tom             Malverne, NY 11565                                    Trade Debt                                                     $2,700.00
                              Phone: (917) 301-5470




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                                                                                                                      Amount of unsecured claim
                                                                             Nature of the
                                                                                                               If the claim is fully unsecured, fill in only
                                                                                claim (for
                                                                                                              unsecured claim amount. If claim is partially
                                                                             example, trade     Indicate if
                                                                                                                 secured, fill in total claim amount and
  Name of creditor and                                                         debts, bank       claim is
                              Name, telephone number, and email address of                                    deduction for value of collateral or setoff to
complete mailing address,                                                         loans,       contingent,
                                            creditor contact                                                            calculate unsecured claim.
   including zip code                                                         professional    unliquidated,
                                                                              services, and    or disputed      Total        Deduction
                                                                               government                      claim, if    for value of      Unsecured
                                                                                contracts)                     partially    collateral or       claim
                                                                                                               secured          setoff


                            PO Box 981101                                                                                                   $245.58
7    WB Mason                                                                Trade Debt
                            Boston, MA 02298-1101




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Fill in this information to identify the case and this filing:


Debtor Name New York Network Management, L.L.C.

United States Bankruptcy Court for the: Eastern District of New York
                                                  (State)

Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                  Declaration and signature

              I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
              partnership; or another individual serving as a representative of the debtor in this case.

              I have examined the information in the documents checked below and I have a reasonable belief that the information is true
              and correct:

              ☐           Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


              ☐           Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


              ☐           Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


              ☐           Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


              ☐           Schedule H: Codebtors (Official Form 206H)


              ☐           Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


              ☐           Amended Schedule


              ☒           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the Twenty (20) Largest Unsecured Claims and Are Not
                          Insiders (Official Form 204).


              ☐          Other document that requires a declaration


I declare under penalty of perjury that the foregoing is true and correct.

Executed on       07/05/2018
                  MM / DD / YYYY                   /s/ Timothy J. Dragelin
                                                   Signature of individual signing on behalf of debtor

                                                   Timothy J. Dragelin
                                                   Printed name

                                                   Chief Restructuring Officer
                                                   Position or relationship to debtor




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          :
                                                                : Chapter 11
NEW YORK NETWORK MANAGEMENT, L.L.C., :
                                                                : Case No. 18-_____ (___)
                    Debtor.                                     :
--------------------------------------------------------------- x

                                CORPORATE OWNERSHIP AND
                    E.D.N.Y. LOCAL BANKRUPTCY RULE 1073-3 STATEMENT

        Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, and Rule

1073-3 of the Local Bankruptcy Rules for the Eastern District of New York, the undersigned authorized

officer of the Debtor certifies that the following corporate entities or individuals, other than a

governmental unit, directly or indirectly own 10% or more of any class of the Debtor’s equity interest.

                             Shareholder                        Percentage Ownership Interest
            NYNM Acquisition, LLC
            One Arin Park
                                                                               100%
            1715 Route 35 North, Suite 303
            Middletown, NJ 07748




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Fill in this information to identify the case and this filing:



Debtor Name New York Network Management, L.L.C.

United States Bankruptcy Court for the: Eastern District of New York
                                                  (State)

Case number (If known):



Official Form 202

Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                      12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                       Declaration and signature

                   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
                   partnership; or another individual serving as a representative of the debtor in this case.

                   I have examined the information in the documents checked below and I have a reasonable belief that the information is true
                   and correct:


                   ☐              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                   ☐              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                   ☐              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                   ☐              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                   ☐              Schedule H: Codebtors (Official Form 206H)


                   ☐              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                   ☐               Amended Schedule


                   ☐              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                                  (Official Form 204)


                   ☒              Other document that requires a declaration Corporate Ownership and E.D.N.Y. Local Bankruptcy Rule 1073-3
                   Statement

I declare under penalty of perjury that the foregoing is true and correct.

Executed on            07/05/2018                                /s/ Timothy J. Dragelin
                       MM / DD / YYYY                            Signature of individual signing on behalf of debtor

                                                                 Timothy J. Dragelin
                                                                 Printed name

                                                                 Chief Restructuring Officer
                                                                 Position or relationship to debtor




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          :
                                                                : Chapter 11
NEW YORK NETWORK MANAGEMENT, L.L.C., :
                                                                : Case No. 18-_____ (___)
                    Debtor.                                     :
--------------------------------------------------------------- x

                                LIST OF EQUITY SECURITY HOLDERS

        Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(3), the above-captioned debtor hereby

provides the following list of holders of equity interests:


               Name and Address of Interest Holder                             Percentage of Interests Held
NYNM Acquisition, LLC
One Arin Park
                                                                                            100%
1715 Route 35 North, Suite 303
Middletown, NJ 07748




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Fill in this information to identify the case and this filing:



Debtor Name New York Network Management, L.L.C.

United States Bankruptcy Court for the: Eastern District of New York
                                                  (State)

Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                      12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                       Declaration and signature

                   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
                   partnership; or another individual serving as a representative of the debtor in this case.

                   I have examined the information in the documents checked below and I have a reasonable belief that the information is true
                   and correct:


                   ☐              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                   ☐              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                   ☐              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                   ☐              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                   ☐              Schedule H: Codebtors (Official Form 206H)


                   ☐              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                   ☐               Amended Schedule


                   ☐              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                                  (Official Form 204).


                   ☒              Other document that requires a declaration List of Equity Security Holders

I declare under penalty of perjury that the foregoing is true and correct.

Executed on            07/05/2018                                /s/ Timothy J. Dragelin
                       MM / DD / YYYY                            Signature of individual signing on behalf of debtor

                                                                 Timothy J. Dragelin
                                                                 Printed name

                                                                 Chief Restructuring Officer
                                                                 Position or relationship to debtor



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                         ACTION BY WRITTEN CONSENT
                      OF THE SOLE MEMBER AND MANAGER
                  OF NEW YORK NETWORK MANAGEMENT, L.L.C.

                                          July 5, 2018

         Each of the undersigned, being the sole member (the “Sole Member”) and the sole
manager (the “Sole Manager”) of New York Network Management, L.L.C., a New York limited
liability company (the “Company”), acting pursuant to and authorized by § 402 of the New York
Limited Liability Company Law and the Amended and Restated Operating Agreement of the
Company, hereby adopts the following resolutions by written consent, directs that said
resolutions be filed with the minutes of the proceedings of the Company, and agrees that said
resolutions shall have the same force and effect as if they had been adopted at a duly convened
meeting, effective as of the date set forth above:

       Approval of Chapter 11 Bankruptcy Filing

       WHEREAS, the Sole Member and the Sole Manager considered the financial and
operational conditions of the Company’s business;

        WHEREAS, the Sole Member and the Sole Manager reviewed the historical
performance of the Company, the market for the Company’s services, and the current and long-
term liabilities of the Company;

        WHEREAS, the Sole Member and the Sole Manager reviewed, considered, and received
the recommendations and the advice of the Company’s professionals and advisors with respect to
potential avenues for relief that are available to the Company, including the possibility of
pursuing a restructuring of the Company’s business and assets under chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”); and
       NOW, THEREFORE, BE IT:

        RESOLVED, that, in the business judgment of the Sole Member and the Sole Manager,
after consideration of the alternatives presented and the advice of the Company’s professionals
and advisors that, at this time under the relevant circumstances, it is desirable and in the best
interests of the Company, its creditors, equity holders, and other interested parties (as such
consideration may be appropriate under applicable law) for a voluntary petition to be filed by the
Company under the provisions of chapter 11 of the Bankruptcy Code; and it is

       FURTHER RESOLVED, that the Company’s petition seeking relief under the
provisions of chapter 11 of the Bankruptcy Code (the “Petition”) is approved in all respects and
that Timothy J. Dragelin, sole manager of the Sole Member and Chief Restructuring Officer of
the Company, and Frank Lazzara, the Sole Manager of the Company (collectively, the
“Authorized Persons”) be, and hereby are, authorized and directed, on behalf of and in the name
of the Company, to execute the Petition or authorize the execution of the Petition and to cause
the same to be filed with the United States Bankruptcy Court for the Eastern District of New
York (the “Bankruptcy Court”), at such time as the Authorized Persons deem appropriate, in
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order to commence a case under chapter 11 of the Bankruptcy Code (the “Chapter 11 Case”);
and it is

       FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized to
execute and file the petition, schedules, lists, and other papers and to take any and all actions
which they may deem necessary or proper in connection with the prosecution of the Chapter 11
Case and, in that connection, for the Authorized Persons to retain and employ all assistance, by
legal counsel or otherwise, which they may deem necessary or proper in order to successfully
prosecute the Chapter 11 Case; and it is

       FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized
and directed to retain on behalf of the Company, upon such terms and conditions as the
Authorized Persons shall approve, the following professionals to represent the Company in
connection with the Chapter 11 Case:

          DLA Piper LLP (US), to render legal services to and to serve as bankruptcy counsel
           for the Company;

          Houlihan Lokey Capital, Inc., to serve as investment banker for the Company;

          FTI Consulting, Inc., to provide the Company a chief restructuring officer and certain
           additional personnel; and

          Epiq Bankruptcy Solutions, LLC to serve as claims and noticing agent for the
           Company; and it is

        FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized to
retain on behalf of the Company other attorneys, investment bankers, accountants, restructuring
professionals, financial advisors, and other professionals, upon such terms and conditions as the
Authorized Persons shall approve, to render services to the Company in connection with the
Chapter 11 Case or any related insolvency proceeding; and it is

       FURTHER RESOLVED, that all acts lawfully done or actions lawfully taken by any
Authorized Person to file the Petition or with respect to the Chapter 11 Case, any related
insolvency proceeding, or in any matter related thereto, or by virtue of these resolutions be, and
hereby are, in all respects ratified, confirmed, and approved; and it is

        FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized
and directed, in the name of and on behalf of the Company, to take or cause to be taken any and
all such further action and to execute and deliver or cause to be executed or delivered all such
further agreements, documents, certificates, and undertakings and to incur all such fees and
expenses as in their judgment shall be necessary, appropriate, or advisable to effectuate the
purpose and intent of any and all of the foregoing resolutions.




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       Approval of Sale of Substantially All of the Company’s Assets

       WHEREAS, the Authorized Persons have determined that it is in the best interest of the
Company and its estate to seek approval of a sale process (the “Sale Process”) and a sale of all or
substantially all of the Company’s assets by the Bankruptcy Court;

        WHEREAS, the Authorized Persons have determined that it is advisable and in the best
interest of the Company to enter into and perform its obligations under that certain Asset
Purchase Agreement, dated as of July 5, 2018, between the Company, as the seller, and
HealthTek Solutions, LLC (“HealthTek”), as the buyer (the “APA”), pursuant to which the
Company agrees to sell substantially all of its assets to HealthTek, subject to higher and better
offers pursuant to the Sale Process; and

       NOW, THEREFORE, BE IT:

         RESOLVED, that the form, terms and provisions of the APA, in substantially the form
presented to the Authorized Persons, and each of the transactions or other matters contemplated
thereby or related thereto, be and hereby are consented to, approved and adopted in all respects;
and it is

       FURTHER RESOLVED, that the Company be and hereby is authorized, empowered
and directed to enter into, execute, deliver and perform its obligations under the APA; and it is

        FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby is,
authorized, empowered and directed, for and on behalf of the Company, to execute and deliver
the APA, schedules, exhibits, and other transaction documents, with such modifications,
deletions and amendments thereto as the Authorized Person or Authorized Persons executing and
delivering the same shall in his sole judgment deem necessary, proper, advisable or appropriate,
such determination to be conclusively, but not exclusively, evidenced by the execution and
delivery thereof; and it is

        FURTHER RESOLVED, that any one of the Authorized Persons be, and each of hereby
is, authorized, empowered and directed, for and on behalf of the Company, to take or cause to be
taken any and all actions, to negotiate for and enter into agreements and amendments to
agreements, to perform all such acts and things, to execute, file, deliver, dispatch or record in the
name and on behalf of the Company, all such certificates, instruments, agreements, notices or
other documents, and to make all such payments as she or he, in her or his sole judgment, or in
the judgment of any one or more of them, may deem necessary, proper, advisable or appropriate
in order to carry out the purpose and intent of, or consummate the transactions contemplated by,
the foregoing resolutions and/or all of the transactions contemplated therein or thereby, the
authorization therefore to be conclusively evidenced by the taking of such action or the execution
and delivery of such certificates, instruments, agreements or documents; and it is

        FURTHER RESOLVED, that the APA, when executed and delivered, shall be a valid
obligation of and binding upon the Company in the form and content in which it is so executed,
subject to the approval of the Bankruptcy Court; and it is

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        FURTHER RESOLVED, that any and all actions taken or expenses incurred by an
Authorized Person prior to the date that the foregoing resolutions are actually adopted in
affecting the purposes and intent of the foregoing resolutions are hereby ratified, confirmed,
approved and adopted in all respects.


                                  [Signature Page Follows]




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